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                                                        UNITED STATES DISTRICT COURT
                                                             DISTRICT OF HAWAII
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UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAll

UNITED STATES OF AMERICA,             )   CR. NO. 22-00013JAO
                                      )
                Plaintiff,            )   INFORMATIO N
                                      )
          vs.                         )   [18 U.S.C. §§ 1343 and 1346]
                                      )
TY J. K. CULLEN,                      )
                                      )
                Defendant.            )
_________                             )


                             INFORMATIO N
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The U.S. Attorney charges:

                       INTRODUCTORY ALLEGATIONS

      1.     From in or around January 2011, until the filing date of this

Information, TY J. K. CULLEN, the defendant, was a Hawaii State Representative.

Beginning in or around January 2013, CULLEN represented House District 39,

which is a District on Oahu that includes Village Park, Royal Kunia, Waipahu,

Makakilo, and West Loch. Over the years, CULLEN has held positions on various

committees. As of the filing date of this Information, CULLEN was the Vice

Chair of the House Committee on Finance, as well as a member of the Committees

on Government Reform and on Pandemic and Disaster Preparedness.

      2.    Beginning at a time unknown, but at least by September 2014,

CULLEN accepted bribes from Person A, the owner and operator of a Hawaii-

based business. In exchange for those bribes, CULLEN agreed to provide, in his

official capacity as a member of the Hawaii State House of Representatives,

legislative support that would be beneficial to Person A's company.

      3.    Furthermore, despite CULLEN' s ethical and statutory obligation to do

so, CULLEN did not disclose these bribe payments on the State of Hawaii

mandatory Gift Disclosure Statement required of all legislators who receive a gift

valued at more than $200. By failing to disclose the bribes he received, CULLEN




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concealed this material information from both the Hawaii State Ethics Commission

and the people of Hawaii.

                            The State of Hawaii Legislature

       4.     The State of Hawaii legislature is the legislative branch of the State of

Hawaii government, a body composed of the Hawaii State Senate (the "Senate")

and the Hawaii State House of Representatives (the "House"). The Senate is

comprised of 25 members elected to four-year terms and the House is comprised of

51 members elected to two-year terms.

       5.    Under the Constitution of the State of Hawaii (the "Constitution"),

state legislators are duty bound to faithfully act for the benefit of the community.

The Constitution recognizes that legislators exercise power entrusted to them by

the people: "All political power of this State is inherent in the people and the

responsibility for the exercise thereof rests with the people. All government is

founded on this authority." Art. I, § 1. The entrusted legislative power is

substantial: it "extend[ s] to all rightful subjects of legislation not inconsistent with

this constitution or the Constitution of the United States." Art. III, § l. And the

Constitution underscores that the people of Hawaii expect these powers to be

exercised faithfully and honestly: "The people of Hawaii believe that public

officers and employees must exhibit the highest standards of ethical conduct and




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that these standards come from the personal integrity of each individual in

government." Art. XIV.

       6.    Consistent with the expectation that legislators and other public

officers will exhibit the highest standards of ethical conduct in carrying out their

substantial responsibilities, the Constitution of the State of Hawaii provides that

"[a]ll eligible public officers, before entering upon the duties of their respective

offices, shall take and subscribe to the following oath or affirmation: 'I do

solemnly swear (or affirm) that I will support and defend the Constitution of the

United States, and the Constitution of the State of Hawaii, and that I will faithfully

discharge my duties as ____ to the best of my ability."' Art. XVI, § 4. The

oath requirement applies, among others, to "the members of both houses of the

legislature." Id.

      7.     Hawaii state law also explicitly prohibits legislators from accepting

bribes and thereby acting in a manner that serves their own interests, rather than

the best interests of their constituents and of the community. Specifically, Hawaii

Revised Statutes § 710-1040 makes it a crime for a legislator to solicit or accept a

pecuniary benefit with the intent that the legislator's vote, opinion, judgment,

exercise of discretion, or other action as a public servant would thereby be

influenced. Moreover, with limited exceptions not applicable here, Hawaii state

law requires legislators to file a Gift Disclosure Statement, by June 30 of each


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year, disclosing any gifts "valued singly or in the aggregate in excess of $200,

whether the gift is in the form of money, service, goods, or in any other form"

whenever the "source of the gift or gifts have interests that may be affected by

official action or lack of action by the legislator or employee." Haw. Rev. Stat.

§ 84-11.5 .

                CULLEN' s Official Duties and Powers in the House

      8.      As a legislator in the House, CULLEN was tasked with the honest

representation of his constituents, which included the process of drafting and

reviewing of legislation. CULLEN was also responsible for introducing bills,

voting upon pending legislation, and taking part in the process of enacting

legislation free from conflict and/or non-disclosed financial interests.

                                      Person A

      9.      At all times relevant to this Information, Person A was the owner and

operator of a Hawaii-based business that conducted industrial service business

throughout the State of Hawaii. Among other things, Person A's business

regularly entered into contracts with government agencies to provide services and

products in the area of wastewater management. Person A's business was well

positioned to avail itself of publicly financed cesspool conversion projects.




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                                The Bribe Payments

      10.    In or about the Fall of 2014, CULLEN traveled to New Orleans,

Louisiana for a wastewater conference also attended by Person A. While there,

CULLEN accepted casino chips from Person A, and also gained access to a more

exclusive gambling area because he was accompanied by Person A, who was

known to the casino as a valued customer due to the extent and value of the

wagering he/she conducted. While CULLEN was in this area with Person A,

Person A placed bets for CULLEN. In addition, relying in part upon chips

provided to him by Person A, and upon wagers made for him by Person A in the

high roller area, CULLEN cashed out more than $22,000 worth of chips while in

New Orleans.

      11.    On or about January 29, 2015, during the 2015 session of the Hawaii

State Legislature, CULLEN, working in part from information provided by Person

A, introduced a bill contemplating the development of a system to collect and treat

wastewater from existing sewerage systems. The bill provided for a feasibility

study and pilot proj ect for the collection and treatment of wastewater in order to

service a multitude of potable and non-potable water uses. This bill was

introduced and supported by CULLEN as a direct favor to Person A based in part

on financial benefits and gifts provided to him by Person A. The legislature's

passage of the bill resulted in a subcontract being issued to Person A's company.


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       12.    On or about September 4, 2019, Person A met with CULLEN at a

restaurant in Honolulu. During the meeting, Person A told CULLEN that he/she

wanted to collaborate on matters related to the upcoming legislative session.

Person A then went with CULLEN to a restaurant restroom and provided him with

$5,000 in cash for CULLEN's anticipated legislative assistance with an

appropriation related to cesspool conversions.

       13.   On or about October 9, 2019, CULLEN met with Person A at an

office location in Honolulu. During the meeting, Person A handed CULLEN an

envelope containing $3,000 and told him that he/she would need CULLEN's

assistance with legislation. CULLEN accepted the $3,000, indicating his

willingness to assist Person A with official processes of the state legislature.

      14.    On or about December 19, 2019, Person A met with CULLEN

concerning the upcoming legislative session. During the meeting, Person A asked

CULLEN if he needed any "help". CULLEN stated that he was "paying plenty

debt." Person A asked CULLEN if he needed "3" or "5", (meaning $3,000 or

$5,000) to which CULLEN responded "5".

      15.    On or about January 13, 2020, Person A met with CULLEN at a

Honolulu office location. During the meeting, Person A told CULLEN he/she

needed assistance with the passage of a bill related to cesspool conversions.

During the meeting, Person A handed CULLEN an envelope with $5,000 in cash


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and told CULLEN that he/she needed "support" to make sure the appropriation for

the cesspool conversion project was enacted into law. CULLEN accepted the

money and stated that he would "pay attention."

       16.   On or about March 10, 2020, during a meeting at a Honolulu office,

Person A told CULLEN that he/she needed assistance from CULLEN to "kill" the

proposed cesspool conversion legislation referenced in Paragraph 15 above.

Person A handed CULLEN an envelope containing $10,000 in cash, which

CULLEN accepted. CULLEN told Person A that the bill would likely not pass due

to COVID restrictions on the legislature, but that he would "monitor" the progress

of the bill, inferring that if action were necessary to terminate enactment of the bill,

he would take it.

      17.    On or about June 9, 2021, CULLEN entered into Person A's vehicle

in order to be driven to a dinner engagement between them. Shortly after

CULLEN entered the vehicle, Person A provided him an envelope containing

$2,000 telling him "thank you for all the stuff you do" and informing him there

were "a couple k in there for you". CULLEN responded, "oh yeah, ok perfect,

thank you, thank you". Person A then told CULLEN that he/she would need some

assistance from CULLEN with upcoming legislation before the legislature.

      18.    On or about October 8, 2021, CULLEN once again entered into

Person A's vehicle for a planned lunch engagement. While in the vehicle, Person


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A told CULLEN he/she needed assistance in obtaining an appropriation related to

the project referenced in Paragraph 11 above in order to fund the next phase.

Person A handed CULLEN an envelope with $5,000 which CULLEN accepted.

CULLEN agreed that he would reach out to another state representative and an

executive branch official in order to determine what action might be necessary to

fund the project.

                        Concealment of Material Information

       19.   As detailed in Paragraph 7, as a state legislator, CULLEN was

required to file an annual Gift Disclosure Statement by June 30 of each year,

disclosing any gifts "valued singly or in the aggregate in excess of $200, whether

the gift is in the form of money, service, goods, or in any other form" whenever the

"source of the gift or gifts have interests that may be affected by official action or

lack of action by the legislator or employee." Haw. Rev. Stat. § 84-11.5.

      20.    The Gift Disclosure Statement for gifts received between June 1

through May 31 of any given year must be filed by June 30 of that year.

      21.    For the annual Gift Disclosure Statement due on June 30, 2015, which

CULLEN filed on June 24, 2015, CULLEN declared legitimate funds paid to him

from the National Conference of State Legislatures, but purposely failed to

disclose the financial gifts or benefits given to him by Person A during the New

Orleans casino trip.


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       22.   During the gift disclosure period ending on May 31, 2020, CULLEN

again disclosed legitimate stipend payments provided to him by the National

Conference of State Legislatures, but knowingly failed to report cash bribes and

benefits paid to him by Person A. In his June 26, 2020 Gift Disclosure Statement

CULLEN failed to disclose the following "gift" payments paid to him by Person

A, which by law were required to be reported:

             a.    A bribery payment of $5,000 made on September 4, 2019;

             b.    A bribery payment of $3,000 made on October 9, 2019;

             c.    A bribery payment of $5,000 made on January 13, 2020; and

             d.    A bribery payment of $10,000 made on March 10, 2020.

      23.    By disclosing legitimate gifts and financial benefits while concealing

the bribes that he accepted for official action, CULLEN defrauded the citizens of

Hawaii, who were entitled to CULLEN' s honest and faithful services as an elected

State official, and entitled to know that CULLEN had failed to provide those

services.

                         STATUTORY ALLEGATIONS

                           Honest Services Wire Fraud
                          (18 U.S.C. §§ 1343 and 1346)

      24.    Between in or around September 2014, and in or around October 8,

2021, within the District of Hawaii, TY J. K. CULLEN, the defendant, did

knowingly devise and intend to devise a scheme and artifice to defraud the citizens

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of the State of Hawaii of their right to CULLEN' s honest and faithful services as

an elected legislator and Vice Chair of the House Committee on Finance, through

bribery and concealment of material information.

       25.   It was part of the scheme and artifice to defraud that CULLEN

secretly used his official position to enrich himself by accepting bribes from

Person A in exchange for CULLEN' s promise of providing, in his official capacity

as a member of the State House, legislative support that would be beneficial to

Person A's company.

      26.    On or around June 26, 2020, within the District of Hawaii and

elsewhere, and for the purpose of executing the aforesaid scheme and artifice to

defraud, and attempting to do so, CULLEN did knowingly transmit, and cause to

be transmitted, a writing, sign, signal, and sound in interstate commerce, namely,

CULLEN electronically submitted his annual Gift Disclosure Statement to the

Hawaii State Ethics Commission which contained materially false statements and

omissions in that it failed to report CULLEN's unlawful receipt of bribery

payments, and other funds, which he accepted in return for his agreement to

perform official acts as a State of Hawaii legislator.

      All in violation of Title 18, United States Code, Sections 1343 and 1346.




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                                   Forfeiture Notice

       27.   The allegations set forth in this Information are hereby re-alleged and

incorporated by reference as though set forth in full herein for the purpose of

noticing forfeiture pursuant to Title 18, United States Code, Section 981(a)(l)(C)

and Title 28, United States Code, Section 2461 (c).

      28.    The United States hereby gives notice that, upon conviction of the

offense in violation of Title 18, United States Code, Sections 1343 and 1346 set

forth in this Information, TY J. K. CULLEN, the defendant, shall forfeit to the

United States any and all property, real or personal, constituting, or derived from,

proceeds traceable to the violation of the offense set forth in this Information.

      29.    If by any act or omission of the defendant, any of the property subject

to forfeiture described in paragraph 28 above:

             a.     cannot be located upon the exercise of due diligence;

             b.     has been transferred or sold to, or deposited with, a third party;

             c.     has been placed beyond the jurisdiction of the court;

             d.     has been substantially diminished in value; or

             e.     has been commingled with other property which cannot be

                    divided without difficulty,




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the United States will be entitled to forfeiture of substitute property up to the value

of the property described above in paragraph 28, pursuant to Title 21, United States

Code, Section 853(p ).

       DATED:        February 8, 2022   , at Honolulu, Hawaii.




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